                  RENDERED: AUGUST 9, 2024; 10:00 A.M.
                        NOT TO BE PUBLISHED

                Commonwealth of Kentucky
                           Court of Appeals
                              NO. 2023-CA-0935-MR

JUDY F. SMITH                                                         APPELLANT


              APPEAL FROM GREENUP CIRCUIT COURT
v.        HONORABLE BRIAN CHRISTOPHER MCCLOUD, JUDGE
                     ACTION NO. 20-CI-00443


KURT F. JAENICKE, M.D.                                                  APPELLEE


                                    OPINION
                                   AFFIRMING

                                  ** ** ** ** **

BEFORE: COMBS, A. JONES, AND KAREM, JUDGES.

KAREM, JUDGE: Judy F. Smith (“Smith”) appeals the Greenup Circuit Court’s

order granting summary judgment in favor of Dr. Kurt F. Jaenicke (“Dr. Jaenicke”)

in a medical malpractice case. The circuit court determined that Smith had failed

to present expert testimony supporting her allegation that she suffered an injury

caused by negligence on the part of Dr. Jaenicke. Finding no error, we affirm.
                 FACTUAL AND PROCEDURAL BACKGROUND

               On December 3, 2019, Dr. Jaenicke performed surgery on Smith to

repair a pelvic organ prolapse. During the procedure, Dr. Jaenicke discovered one

or more “large[,] prolapsed hemorrhoid[s]” and performed a hemorrhoidectomy for

their removal.

               Thereafter, on November 10, 2020, Smith filed a complaint in the

circuit court. In her complaint, Smith alleged that Dr. Jaenicke owed her a duty to

obtain her informed consent before performing the hemorrhoidectomy.1 She

further alleged that “as the direct and proximate result of the unauthorized and

negligently performed hemorrhoidectomy and/or anal surgery, [Smith] sustained

anal stenosis, scarring and was otherwise seriously and permanently injured and

damaged.” Finally, Smith further contended that she had incurred and would incur

medical expenses, lost wages, and earning capacity in the future, and had suffered

extreme pain, suffering, and mental anguish.

               The litigation in this matter proceeded, and on May 15, 2023 – after

the period for naming expert witnesses had passed – Dr. Jaenicke filed a motion for

summary judgment on the basis that none of Smith’s identified experts would offer




1
  In its order, the circuit court did not discuss or rule on informed consent as it related to any
breach of the standard of care in this case. Further, Smith specifically indicates in her brief that
the appeal “centers solely on the proof of causation[,] i.e., whether medical expert testimony is
needed to establish that the hemorrhoidectomy caused injury to [Smith].”

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testimony supporting her claims that the hemorrhoidectomy caused her alleged

injuries at issue in the case.

              Smith opposed the motion for summary judgment, contending that Dr.

Jaenicke had testified at his deposition that hemorrhoidectomies are painful and

hurt. Smith further argued that another of her treating physicians, Dr. Jon

Hourigan, had testified and documented that he performed a surgical evaluation

and that Smith had sustained a condition similar to anal stenosis with anal scarring

secondary to the hemorrhoidectomy. As a result, Smith contended that the circuit

court should not grant summary judgment.

              On July 14, 2023, the circuit court granted summary judgment to Dr.

Jaenicke, finding that Smith failed to present expert testimony supporting her

allegations that she suffered any injury caused by Dr. Jaenicke’s negligence. Thus,

no genuine issue of material fact existed regarding two essential elements of

Smith’s negligence claim; causation and damages. This appeal followed.

              We will discuss further facts as they become relevant.

                                     ANALYSIS

              1. Standard of Review

              Kentucky Rule of Civil Procedure (“CR”) 56.03 authorizes a motion

for summary judgment “if the pleadings, depositions, answers to interrogatories,

stipulations, and admissions on file, together with the affidavits, if any, show that


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there is no genuine issue as to any material fact and that the moving party is

entitled to a judgment as a matter of law.” A court must view the record “in a light

most favorable to the party opposing the motion for summary judgment and all

doubts are to be resolved in his favor.” Steelvest, Inc. v. Scansteel Service Center,

Inc., 807 S.W.2d 476, 480 (Ky. 1991) (citations omitted). “If the litigants are

given an opportunity to present evidence which reveals the existence of disputed

material facts and upon the trial court’s determination that there are no such

disputed facts, summary judgment is appropriate.” Ross v. Powell, 206 S.W.3d

327, 330 (Ky. 2006). Further, “[w]hether summary judgment is appropriate is a

legal question involving no factual findings, so the trial court’s grant of summary

judgment is reviewed de novo.” McKinley v. Circle K, 435 S.W.3d 77, 79 (Ky.

App. 2014) (citation omitted).

             2. Discussion

             On appeal, Smith first argues that she did not need expert testimony to

prove the hemorrhoidectomy caused her injuries. Specifically, she claims it is

within the “common knowledge and experience of laymen . . . to recognize and

infer that Dr. Jaenicke caused bodily harm by cauterizing Judy Smith’s flesh and

making surgical cuts to her body[.]”

             As a starting point for our analysis of Smith’s claims, “[i]t is

elementary for all tort cases that the plaintiff must establish a duty, breach thereof,


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causation, and injury.” Saint Elizabeth Medical Center, Inc. v. Arnsperger, 686

S.W.3d 132, 138 (Ky. 2024). Moreover, as discussed by a panel of this Court, “[i]t

is well established that in a medical malpractice case, the burden of proof is upon

the plaintiff to establish the negligence of a physician by medical or expert

testimony.” Nalley v. Banis, 240 S.W.3d 658, 660-61 (Ky. App. 2007) (citation

omitted). Indeed, expert testimony is “essential” in establishing a defendant

deviated from the standard of care and caused some injury to the plaintiff.

Blankenship v. Collier, 302 S.W.3d 665, 671 (Ky. 2010).

             In some situations, Kentucky courts have recognized an exception to

the preceding requirement and have permitted the inference of negligence even in

the absence of expert testimony. Arnsperger, 686 S.W.3d at 138. In Arnsperger,

the Kentucky Supreme Court noted:

                    That a medical malpractice case may, in certain
             circumstances, proceed to trial without expert medical
             testimony when duty, breach, causation, and injury are
             readily apparent within the common knowledge of a jury
             has been frequently described as the “layman’s
             exception” in this case, but that term is a bit of a
             misnomer. The “layman’s exception” is in fact nothing
             other than the application of res ipsa loquitur – the thing
             speaks for itself.

Id. (citations omitted).

             In this case, Dr. Jaenicke argues that Smith did not preserve her res

ipsa loquitur argument on appeal because she never raised it in a timely manner


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before the circuit court. Moreover, “[i]t is axiomatic that a party may not raise an

issue for the first time on appeal.” Sunrise Children’s Services, Inc. v. Kentucky

Unemployment Insurance Commission, 515 S.W.3d 186, 192 (Ky. App. 2016)

(citations omitted). In other words, “it is the accepted rule that a question of law

which is not presented to or passed upon by the trial court cannot be raised here for

the first time.” Hutchings v. Louisville Trust Co., 276 S.W.2d 461, 466 (Ky. 1954)

(citation omitted).

             In this case, we agree with Dr. Jaenicke that Smith did not adequately

preserve the res ipsa loquitur argument she raised on appeal. Our examination of

the record reveals that this is the first time Smith has argued that she was not

required to present medical expert testimony based on a res ipsa loquitur theory.

Therefore, we will not discuss this new theory on appeal.

             Smith next argues that the alleged injuries that she claims were caused

by the hemorrhoidectomy were substantiated by Dr. Jaenicke’s testimony and

qualified as admissions to negligence. If a defendant physician “makes certain

admissions that make his negligence apparent[,]” a plaintiff would not have to

present expert testimony. Blankenship, 302 S.W.3d at 670.

             However, we disagree that any of Dr. Jaenicke’s statements

throughout the litigation could be characterized as “admissions that make his

negligence apparent.” Id. While Dr. Jaenicke made general statements regarding


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the risks and complications of a hemorrhoidectomy, including a discussion about

how a hemorrhoidectomy can be a painful procedure, Dr. Jaenicke never admitted

that the hemorrhoidectomy or any negligent performance on his part caused

Smith’s post-operative complaints.

             Indeed, Smith had a complete pelvic organ prolapse before her

surgery, a history of constipation, and been diagnosed with a urinary tract infection

post-operatively. In other words, there were multiple reasons why she may have

been experiencing post-operative pain and bleeding. Dr. Jaenicke’s deposition

testimony cannot be read to be an admission that the hemorrhoidectomy was the

cause of her post-operative or current complaints.

             Finally, Smith argues that the medical records and testimony of Dr.

Jon Stuart Hourigan further substantiated her injuries from the hemorrhoidectomy.

Smith had begun treatment with Dr. Hourigan in July 2020 due to complaints of

constipation, occasional incontinence, and anal pain. Dr. Hourigan evaluated

Smith under anesthesia and anal dilation, noting the following:

             Overall, clinical complaints do not seem to be consistent
             with physical examination and operative findings during
             evaluation under anesthesia demonstrate minimal if any
             explanation for perianal pain. I cannot clearly determine
             why there is some degree of hypo sensitivity along the
             left perianal skin and increased sensitivity within the anal
             canal. Hemorrhoidectomy site, apparent by surgical scar,
             seems to be ordinary in appearance. Anal rectal tone is
             present.


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Dr. Hourigan was deposed in January 2023. At that time, he testified that he did

not intend to give an opinion in this case regarding whether any of Smith’s claimed

injuries or complaints were related to the hemorrhoid surgery.

             Regarding Dr. Hourigan’s evidence, his notes and deposition

testimony demonstrate that he offered no opinions regarding whether Dr. Jaenicke

caused injury to Smith when performing the hemorrhoidectomy. Instead, he

affirmatively ruled out anal stenosis after performing the evaluation under

anesthesia, documenting in his post-surgical notes that the “superficial scar” seen

during the evaluation “should not be interpreted as post[-]hemorrhoidectomy anal

stenosis.” (Emphasis added.) Indeed, his “findings during evaluation under

anesthesia demonstrate minimal if any explanation for perianal pain.” Finally, he

conclusively stated in his deposition testimony that he did not intend to give an

opinion regarding whether any of Smith’s claimed injuries or complaints were

related to the hemorrhoid surgery, and he did not otherwise connect any of Smith’s

complaints to the hemorrhoidectomy performed by Dr. Jaenicke.

             Thus, without supportive expert testimony establishing the causation

and damages portions of this medical malpractice action, there was no genuine

issue upon which relief may be granted, and summary judgment was appropriate.




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                                CONCLUSION

            For the foregoing reasons, we affirm the Greenup Circuit Court’s

order granting summary judgment in Dr. Jaenicke’s favor.



            ALL CONCUR.



BRIEF FOR APPELLANT:                    BRIEF FOR APPELLEE:

Bert Ketchum                            C. Jessica Pratt
Michael C. Walker                       Cincinnati, Ohio
Huntington, West Virginia




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